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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA

v.
ALAN WILLIAM BYERLY,

Defendant.

The Grand Jury charges that:

CRIMINAL NO. 21-CR-527 (RDM)

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder) .

18 U.S.C. § 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in Restricted
Grounds Using and Carrying a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Grounds Using and Carrying a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Physical Violence in Restricted Grounds
Using and Carrying a Deadly or
Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds)

18 U.S.C. § 113(a)(4)

(Striking, Beating, or Wounding of
Another Person within the Territorial
Jurisdiction)

18 U.S.C. § 113(a)(5)

(Simple Assault within the Territorial
Jurisdiction)

INDICTMENT
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, ALAN WILLIAMBYERLY,

committed and attempted to commit an act to obstruct, impede, and interfere with a law enforcement
officer, that is, Officer A.G., an officer from the Washington, D.C. MetropolitanPolice Department,
lawfully engaged in the lawful performance of his/her official duties incidentto and during the
commission of a civil disorder, which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article or commodity in commerce and the conduct and
performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, using a deadly and dangerous weapon, that is, a TASER, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, that is, A.G., an officer from the
Washington, D.C. Metropolitan Police Department, while such officer and employee was engaged
in and on account of the performance of official duties and where the acts in violation of this

section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))
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COUNT THREE
On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and during and
in relation to this offense ALAN WILLIAM BYERLY used and carried a deadly and dangerous
weapon, to wit a TASER.

(Entering and Remaining in a Restricted Grounds Using and Carrying a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)(1)(A))
COUNT FOUR

On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in, and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did, in fact, impede and disrupt theorderly
conduct of Government business and official functions, and during and in relation to this offense
ALAN WILLIAM BYERLY used and carried a deadly and dangerous weapon, to wita TASER.

(Disorderly and Disruptive Conduct in Restricted Grounds Using and Carrying a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A)).
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COUNT FIVE
On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly engage in any act of physical violence against any person and property in restricted
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, and
during and in relation to this offense ALAN WILLIAM BYERLY used and carried a deadly and
dangerous weapon, to wit a TASER.

(Engaging in Physical Violence in Restricted Grounds Using and Carrying a Deadly
or Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4)
and (b)(1)(A))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds.

(Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States
Code, Section 5104(e)(2)(F))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, at a place within the territorial jurisdiction of the United States, namely the United
States Capitol Grounds, on land acquired for the use of the United States and under its exclusive
jurisdiction, did commit an assault of an individual with initials J.M. by striking, beating, and
wounding J.M.

(Striking, Beating, and Wounding within the Territorial Jurisdiction of the United
States, in violation of Title 18, United States Code, Section | 13(a)(4))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, at a place within the territorial jurisdiction of the United States, namely the United
States Capitol Grounds, on land acquired for the use of the United States and under its exclusive
jurisdiction, did commit a simple assault of an individual with initials J.M.
(Simple Assault within the Territorial Jurisdiction of the United States, in violation of

Title 18, United States Code, Section | 13(a)(5))

A TRUE BILL:

FOREPERSON.

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“reir Howe
Attorney of the United States in
and for the District of Columbia.
